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                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                       Medford Division
In re the Matter of J.P. and E.P.:
                                                    Case No.: 1:24-cv-00648-AA
ARNAUD PARIS,
              Petitioner,
                                                    RESPONDENT’S REPLY TO
       and                                          PETITONER’S RESPONSE TO
                                                    RESPONDENT’S MOTION TO
HEIDI MARIE BROWN,                                  DISMISS
              Respondent.

                    The Convention on the Civil Aspects of International Child Abduction
                                    Done at the Hague on 25 Oct 1980
                     International Child Abduction Remedies Act, 22 USC § 9001 et seq.

       Respondent Heidi Brown (“Mother”), by and through her attorneys, Katrina Seipel
and Buckley Law, P.C., hereby replies to Petitioner’s Response to Respondent’s Motion to
Dismiss and moves this Court for an order granting dismissal of the Petition in this matter
pursuant to the fugitive disentitlement doctrine.
                                 Local Rule 7-1 Certification
       Counsel for Mother hereby certifies that I made a good faith effort to confer with
Petitioner regarding this Motion, see Exhibit 1. Petitioner refused to confer regarding this


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Motion specifically and, instead, asked Mother’s counsel to disclose confidential and
privileged communications. Moreover, Petitioner has initiated ethical complaints and
investigations into at least three of Mother’s lawyers. Accordingly, this counsel attempted
conferral in writing to ensure a record of the same.
                                        ARGUMENT
       This Court already has before it the necessary facts to consider in making its
determination whether or not to dismiss the Petition in this matter pursuant to the fugitive
disentitlement doctrine. Though Petitioner’s (hereinafter “Father”) Response sets forth
countless allegations and “facts”, this Reply need not reply to the vast majority of them.
However, should this Court give serious consideration to the facts as recited by Father, this
Court should also be aware that countless judges in this state, both at the state and federal
levels, have questioned Father’s credibility in the parties’ legal proceedings. Honorable Judge
Michael J. McShane, in the parties’ prior Hague matter, stated that “Mr. Paris … [has] been
less than credible.” See Exhibit 2, page 52, lines 1 - 2.
       Correspondingly, at this juncture, the Court need not concern itself with Mother’s
actions, the differing custodial directives of Oregon and France, and whether or not Oregon
state Judges Orr and Bloom are corrupt, as Father alleges. The Court also need not, and, in
fact, should not, concern itself with who is a better parent and what, at this point, is in the
best interests of the minor children involved in this exhausting battle between Mother and
Father. The only task for the Court at this juncture is to analyze the fugitive disentitlement
doctrine and determine whether, based on Father’s conduct and Father’s conduct alone,
application of the doctrine in this instance is warranted.
       To that end, in his Response, Father points the Court to United States v. Bescond and
claims that the case supports denial of Mother’s Motion to Dismiss. 24 F.4th 759 (2d Cir.
2021). Quite to the contrary, Bescond supports Mother’s position. The Court in Bescond


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analyzed application of the fugitive disentitlement doctrine to a woman who had never
stepped foot in the United States. Id. at 774. In holding that application of the fugitive
disentitlement doctrine was not proper in Bescond, the Court analyzed and discussed how
Bescond had never fled the court’s jurisdiction, and she specifically did not flee to seize an
unfair advantage or game the system. Id. Additionally, the Court pointed out, “Other than to
avoid a ruinous designation as a fugitive, Bescond has no reason to travel here: it is not
shown that she has residence, immigration status, job, or family in this country, and she
allegedly committed the charged offense entirely from abroad.” Id. The Court then
specifically stated that it would not apply the fugitive disentitlement doctrine because there
was simply no basis for a finding that Bescond exhibited disrespect for U.S. law. Id.
       The same cannot be said of Father. Father’s Response details a timeline that does not
work to his advantage. In his timeline, Father admits that, time and time again, he has filed
motion after motion after motion with the courts of this state. Often times, after receiving a
denial, Father files the very same motion previously filed. The only conclusion to be drawn
from this conduct is that Father will not accept “no” as an answer from our courts. Surely,
upon hearing “no”, Father has not proved that he respects our judges and our courts. When
Father did not obtain favorable rulings from Judge Orr in Oregon state court, he began to
claim that Judge Orr is corrupt. Then, when he did not obtain favorable rulings from Judge
Bloom in Oregon state court, Father began to claim that Judge Bloom colluded with Judge
Orr. Then, insultingly, in this action, Father attempts to air the judges’ dirty laundry, so to
speak. And for what purpose? Because he believes that this Court will side with him?
       In Bescond, application of the fugitive disentitlement doctrine was not proper when (1)
the defendant had never been to the United States, (2) she had no reason to ever come to
the United States, (3) she did not flee the United States to gain an unfair advantage or game
the system, and (4) she never exhibited disrespect for United States law. Here:


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       (1) Father has been to the United States on countless occasions. He lived here. He
           continues to own land here. He was physically present in Oregon when he
           removed two minor children from Oregon and the United States in violation of a
           court order.
       (2) Father continues to have reason to come to the United States. Namely, his
           children are here, his children’s Mother is here, and he is a United States citizen
           with a United States passport.
       (3) Despite Father claiming otherwise, he unquestionably fled the United States with
           the children to gain an unfair advantage or game the system. He did not like what
           Oregon courts were telling him, so he abducted the children to the country he
           suspected would be more favorable to him. If he did not do so, why did he not
           tell Mother his plans until the children were back with him in France? Why did he
           not tell the Oregon state court his plans until the children were back with him in
           France? Why did he attempt to do away with the TPOR in the first place? Why
           did he need a lawyer’s assistance to get his children out of the country? The
           lengths Father went to in order to game the system are clear, extensive, and
           terrifying.
       (4) Father, as detailed in Mother’s Motion to Dismiss and briefly above, has exhibited
           extreme disrespect for United States law.
       In his Response, Father also points to Sasson v. Shenhar, 276 Va. 611 (2008) for
support. Father argues that this Court should not apply the law as set forth in Sasson because
Mother now has the children in her physical custody, so her parental and custodial rights
have not been interfered with. Father’s argument in this regard is misleading.
       In 2008, as detailed in Mother’s Motion to Dismiss, the Supreme Court of Virginia
upheld, in Sasson, the dismissal of the father’s appeal pursuant to the fugitive disentitlement


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doctrine. Id. at 627-28. Years later, in April 2020, the father and the child of Sasson, the child
having become an adult, filed a petition for declaratory judgment in Virginia state court,
requesting that the contempt order and warrant be dismissed and declared no longer
enforceable. Sasson v. Shenhar, No. 211055, 2022 WL 17498872, at *1 (Va. Dec. 8, 2022).
Their argument was, essentially, that the contempt case and warrant were moot, due to the
child having reached adult age and, as such, the mother’s custodial rights no longer being an
issue. Id. The mother demurred, arguing that the father remained a fugitive for his failure to
comply with prior court orders, and her demur was granted. Id. The Court of Appeals and
Supreme Court of Virginia affirmed. Id. at *2-*3. The Supreme Court of Virginia reiterated
that “where a party maintains that an order of a court is void, the appropriate action to take
is to appeal that order, or to attack it in a collateral proceeding, while still submitting to the court’s
jurisdiction.” Id. at *2. “In other words, until he submits to the court’s jurisdiction, [the father]
has foreclosed any challenge to the validity of the [order at issue]. To hold otherwise would
require the Court to tacitly condone [the father’s] continued willful disobedience of court
orders.” Id.
        Father argues that because the children are physically present with Mother, her
custodial rights are not currently being violated, so Sasson does not apply. The father in the
latest Sasson argued that because the child became an adult, the mother’s custodial rights
were not currently being violated. The father’s argument in the latest Sasson failed, and
Father’s argument in this matter also fails. If Father wishes to contest the contempt action
and corresponding warrant, he may do so upon submitting himself to the jurisdiction of
Oregon state courts. Instead, he asks this Court to tacitly condone his continued willful
disobedience of court orders. It goes without saying, but this Court must not do so.
                                           CONCLUSION




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        For the foregoing reasons and the reasoning in Mother’s Motion to Dismiss, Mother
respectfully requests that this Court dismiss Father’s Petition in its entirety.
Respectfully submitted this 17th day of July, 2024.




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                                CERTIFICATE OF SERVICE
        I certify that this document was served by e-mail and first-class U.S. mail upon
Petitioner Arnaud Paris, to arnaud@skyvr.com and aparis@sysmicfilms.com, and to his last
known address of 13 rue Ferdinand Duval, 75004, Paris, France on this 17th day of July,
2024.




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